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 8                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA
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11   MICHAEL NEVEU,                )
                                   )
12                                 )
                    Plaintiff,     )                1:04-cv-6490 OWW NEW
13                                 )
          v.                       )
14                                 )
     CITY OF FRESNO ET.AL.,        )                ORDER SETTING EX PARTE
15                                 )                APPLICATION FOR HEARING
                                   )
16                  Defendant      )
     ______________________________)
17
18        An Ex Parte application by Plaintiff’s counsel to withdraw as
19   attorneys of record has been filed. By reason of the proximity of
20   the trial date, IT IS ORDERED that a hearing on this ex parte
21   motion is set for Monday, August 20, 2007 at 11:00AM in courtroom 3
22   before Judge Wanger.
23   FURTHER ORDERED that plaintiff MICHAEL NEVEU be personally present.
24
     IT IS SO ORDERED.
25
     Dated: August 17, 2007                  /s/ Oliver W. Wanger
26   emm0d6                             UNITED STATES DISTRICT JUDGE
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28                                          1
